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                       EXHIBIT B
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                 In re Boy Scouts of America and Delaware BSA, LLC
                           Revised Participating Parties List


BSA
Jessica C. Lauria                          jessica.lauria@whitecase.com
Michael C Andolina                         mandolina@whitecase.com
Matthew Linder                             mlinder@whitecase.com
Laura E. Baccash                           laura.baccash@whitecase.com
Blair M. Warner                            blair.warner@whitecase.com
Samuel Hershey                             sam.hershey@whitecase.com
Glenn Kurtz                                gkurtz@whitecase.com
Robert Tiedemann                           rtiedemann@whitecase.com
Andrew Hammond                             ahammond@whitecase.com
Jennifer Thomas                            Jennifer.thomas@whitecase.com
Doah Kim                                   doah.kim@whitecase.com
Ronald Gorsich                             rgorsich@whitecase.com
Derek Abbott                               DAbbott@morrisnichols.com
Andrew Remming                             aremming@morrisnichols.com
Paige Topper                               ptopper@morrisnichols.com
Tori Remington                             tremington@morrisnichols.com
Ernest Martin                              Ernest.Martin@haynesboone.com
Adrian Azer                                Adrian.Azer@haynesboone.com

U.S. Trustee
David L. Buchbinder                        david.l.buchbinder@usdoj.gov
Hanna Mufson McCollum                      hannah.mccollum@usdoj.gov

Tort Claimants’ Committee
James Stang                                jstang@pszjlaw.com
Rob Orgel                                  rorgel@pszjlaw.com
John A. Morris                             jmorris@pszjlaw.com
John W. Lucas                              jlucas@pszjlaw.com
Linda Cantor                               lcantor@pszjlaw.com
James O’Neill                              joneill@pszjlaw.com
Debra Grassgreen                           dgrassgreen@pszjlaw.com
Ken Brown                                  kbrown@pszjlaw.com
Malhar S. Pagay                            mpagay@pszjlaw.com
Richard M. Pachulski                       rpachulski@pszjlaw.com
Alan J. Kornfeld                           akornfeld@pszjlaw.com

Ad Hoc Committee of Local Councils
Richard G. Mason                           RGMason@WLRK.com
Douglas K. Mayer                           DKMayer@WLRK.com
Joseph C. Celentino                        JCCelentino@WLRK.com
Mitchell Levy                              MSLevy@wlrk.com
Craig Martin                               craig.martin@us.dlapiper.com


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Creditors’ Committee
Thomas Moers Mayer                         TMayer@kramerlevin.com
Rachael Ringer                             rringer@kramerlevin.com
Jennifer Sharret                           jsharret@kramerlevin.com
Megan Wasson                               mwasson@kramerlevin.com
Natan Hammerman                            nhamerman@kramerlevin.com
Mark Eckar                                 meckard@reedsmith.com
Kurt Gwynne                                kgwynne@reedsmith.com

Future Claimants’ Representative
Robert Brady                               rbrady@ycst.com
Edwin Harron                               eharron@ycst.com
Sharon Zieg                                szieg@ycst.com
Erin Edwards                               eedwards@ycst.com
Kenneth Enos                               kenos@ycst.com
Kevin Guerke                               kguerke@ycst.com
Ashley Jacobs                              ajacobs@ycst.com
Jared Kochenash                            jkochenash@ycst.com
Sara Beth Kohut                            skohut@ycst.com
Rachel Jennings                            jenningsr@gilbertlegal.com
Meredith Neely                             neelym@gilbertlegal.com
Kami Quinn                                 quinnk@gilbertlegal.com
W. Hunter Winstead                         winsteadh@gilbertlegal.com
Emily Grim                                 grime@gilbertlegal.com

Coalition of Abused Scouts for Justice
D. Cameron Moxley                          cmoxley@brownrudnick.com
David Molton                               dmolton@brownrudnick.com
Sunni Beville                              sbeville@brownrudnick.com
Tristan Axelrod                            taxelrod@brownrudnick.com
Barbara J. Kelly                           bkelly@brownrudnick.com
Gerard Cicero                              gcicero@brownrudnick.com
Eric Goodman                               egoodman@brownrudnick.com
Rachel Merksy                              rmersky@monlaw.com

JPMorgan Chase Bank, N.A.
Kristian Gluck                             kristian.gluck@nortonrosefulbright.com
John Heath                                 john.heath@nortonrosefulbright.com
Sarah Cornelia                             sarah.cornelia@nortonrosefulbright.com
Steven Zelin                               zelin@pjtpartners.com
John Singh                                 singhj@pjtpartners.com
Scott Meyerson                             meyerson@pjtpartners.com
Lukas Schwarzmann                          lukas.schwarzmann@pjtpartners.com




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The Church of Jesus Christ of Latter-day Saints, a Utah Corporation sole
Jeff Bjork                                   jeff.bjork@lw.com
Robert Malionek                              Robert.malionek@lw.com
Deniz Irgi                                   deniz.irgi@lw.com
Adam Goldberg                                adam.goldberg@lw.com
Blake Denton                                 Blake.Denton@lw.com
Amy Quartarolo                               Amy.Quartarolo@lw.com
Benjamin Dozier                              Benjamin.Butzin-Dozier@lw.com
Sohom Datta                                  Sohom.Datta@lw.com
Natasha BronnSchrier                         natasha.bronnschrier@lw.com
Ryan Jones                                   ryan.jones@lw.com
Michael Merchant                             merchant@rlf.com
Brett Haywood                                haywood@rlf.com

United Methodist Ad Hoc Committee
Ed Rice                                    erice@bradley.com
Elizabeth Brusa                            ebrusa@bradley.com


Roman Catholic Ad Hoc Committee Catholic Mutual Relief Society of America
Everett Cygal                            ecygal@schiffhardin.com
Mark Fisher                              mfisher@schiffhardin.com
Daniel Schufreider                       dschufreider@schiffhardin.com
Jin Yan                                  jyan@schiffhardin.com
Jeremy Ryan                              jryan@potteranderson.com
Aaron H. Stulman                         astulman@potteranderson.com

The Episcopal Church and Domestic and Foreign Missionary Society of the Protestant
Episcopal Church in the United States of America
Mark Salzberg                               mark.salzberg@squirepb.com

Roman Catholic Diocese of Brooklyn, New York, Roman Catholic Archbishop of Los
Angeles, a corporation sole, Roman Catholic Diocese of Dallas, a Texas nonprofit
corporation, Archdiocese of Galveston-Houston, and Diocese of Austin
Patrick A. Jackson                           patrick.jackson@faegredrinker.com
Ian J. Bambrick                              ian.bambrick@faegredrinker.com

Zalkin Law Firm, P.C. and Pfau Cochran Vertetis Amala PLLC, representative group for
various state court counsel
Daniel Bussel                             dbussel@ktbslaw.com
Thomas Patterson                          tpatterson@ktbslaw.com
Sasha Gurvitz                             sgurvitz@ktbslaw.com
Roberty Pfister                           rpfister@ktbslaw.com
Michal Horton                             mhorton@michaelhortonlaw.com



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Agricultural Insurance Company
Bruce W. McCullough                       bmccullough@bodellbove.com
Bruce D. Celebrezze                       bruce.celebrezze@clydeco.us
Conrad Krebs                              konrad.krebs@clydeco.us
David Christian                           dchristian@dca.law

AIG (National Union Fire Insurance Company, Lexington Insurance Company, Landmark
Insurance Company, and the Insurance Company of the State of Pennsylvania)
Susan Gummow                             sgummow@fgppr.com
Tracey Jordan                            tjordan@fgppr.com
Michael Rosenthal                        mrosenthal@gibsondunn.com
Deirdre Richards                         drichards@finemanlawfirm.com
Matthew Bouslog                          mbouslog@gibsondunn.com
James Hallowell                          jhallowell@gibsondunn.com
Keith Martorana                          kmartorana@gibsondunn.com
Tyler H. Amass                           tamass@gibsondunn.com
Tyler Andrew Hammond                     thammond@gibsondunn.com
Amanda George                            ageorge@gibsondunn.com
Dylan S. Cassidy                         dcassidy@gibsondunn.com

Allianz Global Risks US Insurance Company
Ryan Smethurst                            rsmethurst@mwe.com
Margaret Warner                           mwarner@mwe.com
Matthew S. Sorem                          msorem@nicolaidesllp.com
Harris B. Winsberg                        harris.winsberg@troutmanphrd.com
David Fournier                            david.fournier@troutman.com
Marcy Smith                               marcy.smith@troutman.com
Matthew Ray Brooks                        Matthew.Brooks@troutman.com

American Zurich Insurance Company
Mark Plevin                               MPlevin@crowell.com
Tacie Yoon                                TYoon@crowell.com
Rachel Jankowski                          RJankowski@crowell.com
Robert Cecil                              rcecil@trplaw.com

Argonaut Insurance Company and Colony Insurance Company
Laura Archie                             laura.archie@argogroupus.com
Paul Logan                               plogan@postschell.com
Kathleen K. Kerns                        kkerns@postschell.com
George R. Calhoun                        george@ifrahlaw.com

Arrowood Indemnity Company
Michael Hrinewski                         mhrinewski@coughlinduffy.com
Lorraine Armenti                          LArmenti@coughlinduffy.com




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Aspen Insurance Holdings Limited
Clay Wilson                                cwilkerson@brownsims.com

AXA XL
Jonathan Mulvihill                         Jonathan.mulvihill@axaxl.com
Lloyd A. Gura                              lgura@moundcotton.com
Pamela Minetto                             pminetto@moundcotton.com
Kathleen Miller                            kmiller@skjlaw.com

Ategrity Specialty
John Morgenstern                           jmorgenstern@ohaganmeyer.com
Matthew Szwajkowski                        mszwajkowski@ohaganmeyer.com
Carl “Chuck” Kunz, III                     ckunz@morrisjames.com

Berkley Custom
John Baay                                  jbaay@glllaw.com

Berkeley Research Group
Matthew Babcock                            MBabcock@thinkbrg.com

Clarendon America Insurance Company
Kenya Spivey                               Kenya.Spivey@enstargroup.com
Harry Lee                                  hlee@steptoe.com
Brett Grindrod                             bgrindrod@steptoe.com
John O’Connor                              joconnor@steptoe.com
Nailah Ogle                                nogle@steptoe.com
Matthew Summers                            SummersM@ballardspahr.com

Century Indemnity Company
Stamatios Stamoulis                        Stamoulis@swdelaw.com
Richard Weinblatt                          weinblatt@swdelaw.com
Tancred Schiavoni                          tschiavoni@omm.com
Salvatore J. Cocchiaro                     scocchiaro@omm.com

CNA
Laura McNally                              lmcnally@loeb.com
Emily Stone                                estone@loeb.com
David Christian                            dchristian@dca.law

General Star Indemnity
Gary P. Seligman                           gseligman@wiley.law
Ashley L. Criss                            acriss@wiley.law
Kathleen Miller                            kmiller@skjlaw.com

Hartford Accident and Indemnity Company, First State Insurance Company, Twin City
Fire Insurance Company and Navigators Specialty Insurance Company
James P. Ruggeri                          JRuggeri@ruggerilaw.com


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Joshua D. Weinberg                        jweinberg@ruggerilaw.com
Annette Rolain                            arolain@ruggerilaw.com
Sara Hunkler                              shunkler@ruggerilaw.com
Phil Anker                                Philip.Anker@wilmerhale.com
Danielle Spinelli                         Danielle.Spinelli@wilmerhale.com
Joel Millar                               Joel.Millar@wilmerhale.com
Lauren Lifland                            lauren.lifland@wilmerhale.com
Benjamin Loveland                         Benjamin.loveland@wilmerhale.com
Erin Fay                                  efay@bayardlaw.com
Gregory Flasser                           gflasser@bayardlaw.com

Liberty Mutual
Douglas R. Gooding                        dgooding@choate.com
Jonathan Marshall                         jmarshall@choate.com
Kim V. Marrkand                           KMarrkand@mintz.com

Markel
Russell Dennis                            russell.dennis@markel.com
Jessica O’Neill                           Jessica.oneill@markel.com
Michael Pankow                            MPankow@BHFS.com

Maryland Casualty Company, Maryland American General Group, and American General
Fire & Casualty Company
Harry Lee                              HLee@steptoe.com
Brett Grindod                          bgrindod@steptoe.com
Nailah Ogle                            nogle@steptoe.com

Munich Re
Thaddeus Weaver                           tweaver@dilworthlaw.com
William McGrath                           wmcgrath@dilworthlaw.com

National Surety
Todd C Jacobs                  TJacobs@bradleyriley.com
John E. Bucheit                jbucheit@bradleyriley.com
David M. Caves                 dcaves@bradleyriley.com
Harris B. Winsberg             harris.winsberg@troutman.comharris.winsberg@phrd.com
David Fournier                 david.fournier@troutman.com
Marcy Smith                    marcy.smith@troutman.com
Matthew Ray Brooks             Matthew.Brooks@troutman.com

Old Republic Insurance Company
Thomas Dare                               tdare@oldrepublic.com
Peg Anderson                              panderson@foxswibel.com
Adam Hachikian                            ahachikian@foxswibel.com
Kenneth Thomas                            kthomas@foxswibel.com
Ryan Schultz                              rschultz@foxswibel.com
Stephen Miller                            smiller@morrisjames.com


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Carl Kunz, III                                               ckunz@morrisjames.com

Traders and Pacific Insurance Company, Endurance American Specialty Insurance
Company, and Endurance American Insurance Company
Joseph Ziemianski                         jziemianski@cozen.com
Marla Benedek                             mbenedek@cozen.com

Travelers
Scott Myers                                                  SPMyers@travelers.com
Louis Rizzo                                                  lrizzo@regerlaw.com

                                              Notice of Intent Parties
Lujan Claimants
Delia Lujan Wolff                                               dslwolff@lawguam.com
Christopher Loizides                                            loizides@loizides.com
Kentucky Creditors: N.C., K.W., C.F., B.L.,
A.F. and A.S:
Raeann Warner                                                   raeann@jcdelaw.com
Louis Schneider                                                 lou.schneider@thomaslawoffices.com
Tad Thomas                                                      tad@thomaslawoffices.com
Crew Janci Claimants
Salle Veghte                                                    sveghte@klehr.com
Morton Branzburg                                                mbranzburg@klehr.com
Peter Janci                                                     peter@crewjanci.com
Hurley McKenna & Mertz Survivors
(HMM)
Sally Veghte                                                    sveghte@klehr.com
Christopher Hurley                                              churley@hurley-law.com
Evan Smola                                                      esmola@hurley-law.com
Lonnie Washburn (Pro Se)1
Frank Schwindler (Pro Se)                                       nundawao@gmail.com
Gillispie Claimants
Sally Veghte                                                    sveghte@klehr.com
Joshua Gillispie                                                josh@greenandgillispie.com
Morton Branzburg                                                mbranzburg@klehr.com
Arch Insurance Company
Kathleen Miller                                                 kmiller@skjlaw.com
Matthew Hamermesh                                               mah@hangley.com
Ronald Schiller                                                 rschiller@hangley.com
Sharon McKee                                                    smckee@hangley.com
Elizabeth Dolce                                                 edolce@hangley.com
1
    Contact information for the pro se individuals has been provided to the Participating Parties.


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Jane Doe
Mark L. Desgrosseilliers                   desgross@chipmanbrown.com
Cindy L. Robinson                          crobinson@robinsonmahoney.com;
Douglas Mahoney                            dmahoney@robinsonmahoney.com

Dumas & Vaughn, LLC Claimants
Ashley L. Vaughn                           ashley@dumasandvaughn.com
Gilion Dumas                               gilion@dumasandvaughn.com




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